Case 24-14055-pmm      Doc 18-3 Filed 12/18/24 Entered 12/18/24 11:27:21        Desc
                            Service List Page 1 of 2



                  UNITED STATES BANKRUPTCY COURT
                  EASTERN DISTRICT OF PENNSYLVANIA

Wayne Sampson Cooper Jr.,                    Case No. 24-14055-pmm
Stephanie Anne Cooper,                       Chapter 13
                                Debtor(s).

                              Certificate of Service

       I, Brad J. Sadek, certify that on December 18, 2024, I did cause a true and
correct copy of the documents described below to be served on the parties listed on
the mailing list exhibit, a copy of which is attached and incorporated as if fully set
forth herein, by the means indicated and to all parties registered with the Clerk to
receive electronic notice via the CM/ECF system:

      •   Motion to Approve Loan Modification

      •   Notice of Motion, Response Deadline, and In-Person Hearing Date

      I certify under penalty of perjury that the above document(s) was sent using
the mode of service indicated.

Date: December 18, 2024                      /s/ Brad J. Sadek
                                             Brad J. Sadek
                                             Sadek Law Offices, LLC
                                             1500 JFK Boulevard, Suite 220
                                             Philadelphia, PA 19102
                                             215-545-0008
                                             brad@sadeklaw.com
Case 24-14055-pmm      Doc 18-3 Filed 12/18/24 Entered 12/18/24 11:27:21                Desc
                            Service List Page 2 of 2



                                 Mailing List Exhibit

 Name and Address of Party Served     Relationship to Case            Mode of Service

U.S. Trustee                        U.S. Trustee             ☒   CM/ECF
                                                             ☐   First Class Mail
                                                             ☐   Certified Mail
                                                             ☐   Email:
                                                             ☐   Other:

Kenneth E. West                     Trustee                  ☒   CM/ECF
                                                             ☐   First Class Mail
                                                             ☐   Certified Mail
                                                             ☐   Email:
                                                             ☐   Other:

AmeriHome Mortgage Company LLC      Creditor                 ☒   CM/ECF
                                                             ☐   First Class Mail
                                                             ☐   Certified Mail
                                                             ☐   Email:
                                                             ☐   Other:




                                               2
